Case 1:16-cr-20913-KMW Document 21 Entered on FLSD Docket 11/14/2017 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 16-20913-CR-CHAMAS

  UNITED STATES OF AMERICA,

               Plaintiff,

  vs.

  ALI CHAMAS,

              Defendant.
  __________________________________/

                             DEFENDANT'S PSI OBJECTIONS

        Defendant, Ali Chamas, through undersigned counsel, hereby makes these

  objections to the presentence report (“PSI”):

   I. Factual Objections

        Mr. Chamas objects to the characterization of the facts in Paragraph 40 of

  the PSI. To be clear, Mr. Chamas is not a member of Hezbollah. Mr. Chamas was

  born in Lebanon but his immediate family moved to Paraguay over fifteen years ago

  and he has not travelled to Lebanon since then. While he may have extended family

  in Lebanon, with various political affiliations, his immediate family members

  including his father, mother, brothers and sisters are not members of Hezbollah. In

  fact, Mr. Chamas, who was born into a Muslim family, married a Christian woman

  in a church. Furthermore, he does not raise his children to identify with any

  particular religion. He believes that they should make those decisions on their own

  when they are adults. While Mr. Chamas’s religious beliefs would not be ordinarily
Case 1:16-cr-20913-KMW Document 21 Entered on FLSD Docket 11/14/2017 Page 2 of 4


  relevant, under these circumstances they are relevant to demonstrate that any

  suggestion that he is aligned with Hezbollah is incorrect.

  II. Legal Objection to Drug Weight

        Paragraph 22 of the PSI increases Mr.Chamas’s offense level by 32 points by

  alleging that he is accountable for 39 kilograms of cocaine. Mr. Chamas objects and

  states that the amount of drugs he is responsible for attempting to import into the

  Unites States is 3 kilograms. Mr. Chamas was arrested in Paraguay for allegedly

  attempting to ship 39 kilograms of cocaine to Istanbul, Turkey. There is no evidence

  that that shipment was tied to the United States in any way. While Mr. Chamas

  was in the custody of Paraguayan officials, DEA agents searched his phone and

  discovered conversations relating to the indicted conduct in this case. Mr. Chamas

  was communicating with a person in Texas regarding the importation of cocaine

  into the United States. The person, named Kuku, wired $6000 to Mr. Chamas

  through Money Gram. Mr. Chamas stated that he would ship Kuku 3 kilograms of

  cocaine on August 20, 2017. Mr. Chamas was arrested for the unrelated drug

  transaction involving Turkey the day before the shipment was to be sent to KuKu.

  No agent, report or witness claims that the attempted shipment to Turkey was

  intended for the United States or that Kuku was in any way associated with the

  Turkish transaction.

        The August 19, 2016 event is not the relevant conduct of indicted actions for

  the attempted importation of cocaine into the United States. The question then is

  whether attempting to sell drugs to a separate person in an entirely different part


                                            2
Case 1:16-cr-20913-KMW Document 21 Entered on FLSD Docket 11/14/2017 Page 3 of 4


  of the world is relevant conduct. U.S.S.G. § 1B1.3(a)(2), Relevant Conduct, provides

  that a defendant is held accountable for the acts "that were part of the same course

  of conduct or common scheme or plan as the offense of conviction." Thus, in a drug

  case, uncharged drugs are included "if they were part of the same course of conduct

  or part of a common scheme or plan as the count of conviction." U.S.S.G. § 1B1.3,

  comment. (backg'd). This does not include, however, misconduct that can be broken

  into discrete, identifiable units. Id. See also United States v. Maxwell, 34 F.3d 1006

  (11th Cir. 1994). If the two acts are "isolated, unrelated events that happen only to

  be similar in kind," they do not constitute a single course of conduct "simply because

  they both involve drug distribution." Id. at 1011. See also United States v. Hill, 79

  F.3d 1477 (6th Cir. 1996); United States v. Sykes, 7 F.3d 1331 (7th Cir. 1993). Here,

  there is no same course of conduct or common scheme or plan between the two

  events. Rather, they are "isolated, unrelated events." Maxwell, 34 F.3d at 1011. As

  such, the cocaine that was being sold to people in Turkey is not relevant conduct to

  the offense of attempting to send cocaine to Texas.




                                            3
Case 1:16-cr-20913-KMW Document 21 Entered on FLSD Docket 11/14/2017 Page 4 of 4


                                      CONCLUSION

        For all of the reasons stated herein, Mr. Chamas asks that this Court grant

  his objections and order the PSI modified accordingly. The applicable base offense

  level for 3 kilograms of cocaine is 26. After applying all other reductions listed in

  the PSI, his guidelines are 37-46 months.


                                           Respectfully submitted,

                                           MICHAEL CARUSO
                                           FEDERAL PUBLIC DEFENDER

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                              CERTIFICATE OF SERVICE


        I HEREBY certify that on November 14, 2017, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.


                                           /s/Bunmi Lomax
                                            Bunmi Lomax
                                              4
